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                          STATE OF MICHIGAN
        MICHIGAN OFFICE OF ADMINISTRATIVE HEARINGS AND RULES


IN THE MATTER OF:                                 Docket No.: 22-004868

N.F. o/b/o K.S.F.,                                Case No.:    DP-22-0017

      Petitioner                                  Agency:      Education
v                                                 Case Type: ED Sp Ed Regular
Kalamazoo Public Schools, Kalamazoo
RESA, et al,                                      Filing Type: Appeal

      Respondents

___________________________________/

                               Issued and entered
                            this 15th day of April 2022
                               by: Lindsay Wilson
                            Administrative Law Judge

                        DECISION AND ORDER
    REGARDING KRESA, KALAMAZOO PUBLIC SCHOOLS, COMSTOCK PUBLIC
                     SCHOOLS MOTION TO DISMISS

PROCEDURAL BACKGROUND

On or about February 18, 2022, Attorneys Jacquelyn Babinski and Elizabeth K.
Abdnour, on behalf of K.S.F. (Petitioner/Student) filed a Due Process Hearing Request
under the Individuals with Disabilities Education Act (IDEA), 25 United States Code
(USC) 1400 et seq. with the Michigan Department of Education (MDE). This Due
Process Complaint was forwarded to the Michigan Office of Administrative Hearings
and Rules (MOAHR) for hearing and was assigned to Administrative Law Judge (ALJ)
Lindsay Wilson.

On February 28, 2022, the undersigned ALJ issued an Order Scheduling Prehearing
Conference for March 8, 2022.

On March 8, 2022, the telephone prehearing conference commenced, but did not
conclude. The undersigned issued an Ordering Continuing Prehearing Conference on
March 8, 2022, stating that the prehearing conference would be continued to March 15,
2022.




                                                                        PLAINTIFFS 00009100
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On March 15, 2022, the telephone prehearing conference commenced and concluded.

On March 17, 2022, the undersigned issued an Order Following Prehearing Conference
(Order), which included the following: (i) clarification of the issues for the hearing; (ii)
any dispositive motions that can be reasonably anticipated shall be filed no later
than March 22, 2022; (iii) responses to dispositive motions shall be filed no later than
March 29, 2022; and (iv) scheduled the hearing for June 27, 2022 through July 1, 2022.

On March 22, 2022, Respondents Kalamazoo Public Schools (KPS), Comstock Public
Schools (CPS), and Kalamazoo Regional Educational Service Agency (KRESA)
(collectively “School Respondents”) filed a Motion to Dismiss.

On March 29, 2022, Petitioner filed a Brief in Response to School Respondents’ Motion
for Summary Disposition.

Neither party requested oral argument pursuant to Mich Admin Code R 792.10115.

ISSUES

Should Respondents KRESA and/or KPS be dismissed as a party to this Due Process
Complaint?

Should specific counts against remaining Respondent(s) be dismissed?

APPLICABLE LAW

MCL 24.272(3) states that:

       The parties shall be given an opportunity to present oral and written
       arguments on issues of law and policy and an opportunity to present
       evidence and argument on issues of fact.

Neither IDEA, the Code of Federal Regulations, nor the Michigan Administrative Rules
for Special Education (MARSE) provide any guidance regarding a Motion for Summary
Disposition. However, the Michigan Administrative Hearing System Rules provide the
framework for a motion for summary disposition.

Mich Admin Code R 792.10129, Rule 129, provides, in pertinent part:

       (1) A party may make a motion for summary disposition of all or part of a
           proceeding. When an administrative law judge does not have final
           decision authority, he or she may issue a proposal for decision




                                                                               PLAINTIFFS 00009101
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          granting summary disposition on all or part of a proceeding if he or she
          determines that that any of the following exists:

          (a) There is no genuine issue of material fact.
          (b) There is a failure to state a claim for which relief may be granted.
          (c) There is a lack of jurisdiction or standing.

      (2) If the administrative law judge has final decision authority, he or she
          may determine the motion for summary decision without first issuing a
          proposal for decision.

      (3) If the motion for summary disposition is denied, or if the decision on
          the motion does not dispose of the entire action, then the action shall
          proceed to hearing.

       Mich Admin Code R 792.10129.

Rule 129(1)(a) tracks the basis for summary disposition under Michigan Court Rule
(MCR) 2.116(C)(10). Under that court rule, summary disposition is available when
"[e]xcept as to the amount of damages, there is no genuine issue as to any material
fact, and the moving party is entitled to judgment or partial judgment as a matter of
law." MCR 2.116(C)(10); see also Coblentz v City of Novi, 475 Mich 558; 719 NW2d
73 (2006); Haliw v City of Sterling Heights, 464 Mich 297; 627 NW2d 581 (2001);
Veenstra v Washtenaw Country Club, 466 Mich 155; 645 NW2d 643 (2000).

“‘A genuine issue of material fact exists when the record, giving the benefit of
reasonable doubt to the opposing party, leaves open an issue upon which reasonable
minds might differ.’” Attorney General v PowerPick Player’s Club of Michigan, LLC, 287
Mich App 13, 26-27; 783 NW2d 515 (2010) (quoting West v Gen. Motors Corp., 469
Mich 177, 183; 665 NW2d 468 (2003)).

A material fact has been defined as an “ultimate fact issue upon which a jury's verdict
must be based." Estate of Neal v Friendship Manor Nursing Home, 113 Mich App 759,
763, 318 NW2d 594 (1982). In other words, "[t]he disputed factual issue must be
material to the dispositive legal claim[s]." Auto Club Ins Ass'n v State Auto Mut Ins Co,
258 Mich App 328, 333; 671 NW2d 132 (2003).

The Michigan Court Rule 2.116 provides in relevant part:

     (B) Motion.




                                                                             PLAINTIFFS 00009102
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      (1) A party may move for dismissal of or judgment on all or part of a claim
      in accordance with this rule. A party against whom a defense is asserted
      may move under this rule for summary disposition of the defense.

                                           ***
      (C) Grounds. The motion may be based on one or more of these grounds,
      and must specify the grounds on which it is based.
                                           ***
            (4) The court lacks jurisdiction of the subject matter.
                                           ***
            (8) The opposing party has failed to state a claim on which relief
                can be granted.

In reviewing a motion brought under MCR 2.116(C)(10), the court must consider the
pleadings, affidavits, depositions, admissions, and any other admissible evidence in
favor of the nonmoving party. MCR 2.116(G)(5); Maiden v Rozwood, 461 Mich 109, 12;
597 NW2d 817 (1999); Radtke v Everett, 442 Mich 368, 374; 501 NW2d 155 (1993);
Miller v Farm Bureau Mut Ins Co, 218 Mich App 221, 233; 553 NW2d 371 (1996).
Affidavits or other documentation submitted in support of or in opposition to a motion for
summary disposition under MCR 2.116(C)(10) must contain admissible evidence. MCR
2.116(G)(6); Maiden, 461 Mich at 121.

Granting the nonmoving party the benefit of any reasonable doubt regarding material
facts, the court must then determine whether a factual dispute exists to warrant a trial.
Bertrand v Alan Ford, Inc, 449 Mich 606, 617-618; 537 NW2d 185 (1995); Radtke, 442
Mich at 374. If there is no genuine issue of material fact, the moving party is entitled to
judgment as a matter of law. See Quinto v Cross & Peters Co, 451 Mich 358, 363; 547
NW2d 314 (1996) (plaintiff failed to present evidence on which reasonable person could
find that hostile work environment existed; summary disposition proper).

DISCUSSION

Petitioner’s Due Process Complaint alleges that Respondents failed to provide
Petitioner a free appropriate public education (FAPE) by failing to provide Petitioner with
“comprehensive evaluations to accurately identify her present levels of academic and
functional performance.” [Complaint, ¶ 3]. Petitioner’s Complaint further alleges that
School Respondents:

      . . . [f]ailed to subsequently develop an education plan and provide
      services reasonably calculated to allow [Petitioner] to access the general
      educational curriculum and make appropriate progress in light of her
      unique circumstances, denying her FAPE. Moreover, the Respondents




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        have failed to provide [Petitioner] with an equal educational opportunity
        and have discriminated against her on the basis of her disability, in
        violation of Section 504 and the ADA. [Complaint, ¶ 3].

   A. School Respondents’ Position

School Respondents argue that Petitioner’s complaint should be dismissed based on
lack of subject matter jurisdiction and based on Petitioner’s claims falling outside the
statute of limitations. [Motion, p 2].

School Respondents further assert that this Tribunal does not have jurisdiction over
claims or issues regarding Section 504 of the Rehabilitation Act of 1973, Title II of the
Americans with Disabilities Act, or the Persons with Disabilities Civil Rights Act. Rather,
Respondents argue, this Tribunal’s jurisdiction is limited to due process complaints filed
pursuant to the IDEA and its implementing regulations and the Michigan Administrative
Rules for Special Education (MARSE). [Motion, p 3].

Next, School Respondents argue that KPS and KRESA are not proper parties to this
action. Respondents assert that neither KRESA nor KPS are responsible for providing
this eligible student a FAPE. Respondents maintain that responsibility belongs to the
student’s local district of residence, in this case CPS. [Motion, pp 3, 6-7].

Finally, School Respondents argue that Petitioner is time barred from raising claims that
occurred prior to February 22, 2020, as the IDEA imposes a two-year period of
limitations. Since Petitioner’s due process complaint was received on February 22,
2022, School Respondents assert that Petitioner cannot allege violations that occurred
prior to February 22, 2020. [Motion, pp 7-8].

   B.    Petitioner’s Position

First, Petitioner asserts that the allegations under Section 504, the Americans with
Disabilities Act, and Persons with Disabilities Civil Rights Act were pled “to ensure those
claims were exhausted either through the pleadings or through presenting evidence”.
[Response, p 1].

Petitioner further argues that KRESA denied Petitioner a free appropriate education
(FAPE) for over twelve years because they failed to ensure that KPS conducted
comprehensive educational evaluations initially and that CPS conducted comprehensive
educational evaluations anytime Petitioner was not making progress academically or
functionally. [Response, p 1]. Petitioner asserts that because KRESA is responsible for
ensuring that local districts comply with IDEA, this Tribunal should assert jurisdiction
over KRESA. [Response, pp 7, 11].




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Finally, Petitioner maintains that KPS was the resident district up until the start of the
2019-2020 school year and that Petitioner filed her complaint within two years of the
discovery of the violations by KPS. Petitioner further argues that the complaint was
timely filed within two years of the discovery of the violations by CPS as well and that
she should be compensated for the deprivation of her rights. [Response, pp 1-2].

   A. This Tribunal does not have jurisdiction over claims involving Section 504, Title II
      of the Americans with Disabilities Act (ADA), or the Persons with Disabilities Civil
      Rights Act (PWDCRA)

In her Response, Petitioner acknowledges this Tribunal has generally declined to
exercise jurisdiction over issues outside the scope of the limited jurisdiction of due
process hearings in Michigan. [Response, p 6]. Petitioner requests exhaustion be
recognized in this matter through the pleadings.

Petitioner cites to LG v Bd of Educ of Fayette County, Ky, an unpublished case from the
6th Circuit Court, which found that a case filed solely under Section 504 could not
proceed in federal court without first exhausting administrative procedures. [Response,
p 7; See LG v Bd of Educ of Fayette County, Ky, 18-5715, 2019 WL 2419021 (6th Cir
June 10, 2019]. This case, however, only requires exhaustion, not a full evidentiary
hearing on the issues.

It is further noted that the issues and claims involving Section 504, the ADA, and the
PWDCRA were addressed at the March 15, 2022 prehearing conference and have
already been dismissed for lack of jurisdiction in the Order Following Prehearing
Conference dated March 17, 2022.

   B. KRESA is not a proper party to this action and must be dismissed with prejudice

A motion for summary disposition may grant relief to the moving party as a matter of law
if the tribunal lacks subject matter jurisdiction and/or where there has been a failure to
state a claim on which relief can be granted. Motions for summary disposition are
analyzed with the same standards as motions filed under Michigan Court Rule 2.116.
Cross v Grosse Pointe Pub Schools (STC 12-14). The proper standard for a motion
under the equivalent court rule, MCR 2.116(C)(8) is not dependent on the particular
facts of a case, but rather tests the legal sufficiency of the pleadings. Lane v Kindercare
Learning Ctrs, 231 Mich App 689 (1998) and People v Lown, 448 Mich 242 (2011).

A due process hearing may address any issues “relating to the identification, evaluation
or educational placement of a child with a disability, or the provision of FAPE to the
child.” 34 CFR 300.507(a). The MARSE similarly lists issues that may be the subject




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matter of a special education due process hearing including educational placement and
provision of a FAPE. (See MARSE R 340.1724f(2)).

Petitioner’s Due Process Complaint seeks compensatory education and compensatory
related services against School Respondents. As it relates to KRESA, Petitioner does
not allege that KRESA was required to provide any direct service to the
Petitioner/Student. Rather, Petitioner alleges that KRESA had the obligation to ensure
that the Local Education Agency (LEA) corrected its violations and to ensure they were
providing a FAPE to the Student. Petitioner argues KRESA failed to properly oversee
KPS and CPS to ensure Petitioner was provided with a FAPE.

The Administrative Law Judge and this Tribunal is limited to resolving due process
complaints filed pursuant to IDEA, supra, and the implementing regulations. There is
nothing in the IDEA or the implementing regulations that provide authority for this
Tribunal to hear disputes regarding the manner in which an intermediate school district
(ISD) supervises LEAs.

School Respondents point out that a student’s local district of residence is responsible
for identifying students with disabilities, conducting evaluations, and providing special
education programs and services. [Motion, p 4; See MCL 380.1751]. As stated in
Section 1702 of the Revised School Code, an ISD provides special education programs
and services only if directed to do so by the state board and if it is determined that the
local school district is not providing those services in compliance with Section 1751.
[See MCL 380.1702(3)]. As such, School Respondents argue that KRESA is not
responsible for providing a FAPE.

Alternatively, Petitioner argues that IDEA, state law, the corresponding implementing
regulations and practice have created a system where an ISD, such as KRESA, is
responsible for ensuring a FAPE. [Response, p 10]. Petitioner maintains that KRESA
was on notice of the violations by the LEAs because of the CPS service records for
Petitioner and the role KRESA played in the 2019 and 2021 MDE complaint
investigations against KPS and CPS, respectively. [Id.]. Petitioner argues that state law
has by default placed the burden of IDEA compliance upon both LEAs and ISDs.
[Response, p 11].

The due process complaint may only be filed by the parent against the public agency
that is responsible for providing the identification, evaluation, educational placement, or
provision of FAPE to the Student. [See 34 CFR 300.507 and 300.508]. While this could
potentially include an ISD, if that entity has taken on those responsibilities1, that is not
the case here as the Petitioner has not alleged KRESA is responsible for providing
direct services to the student.

1 See MCL 380.1711.




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While Petitioner alleges that Respondent KRESA knew or should have known that KPS
and CPS were failing to properly supervise the provision of FAPE to Petitioner, this
does not provide jurisdiction for this tribunal to hear claims against KRESA. In this case,
it was not the responsibility of the ISD, but rather is the responsibility of the LEA who
has the responsibility to provide a FAPE. [See MCL 380.1702].

To the extent that the Petitioner’s Due Process Complaint in this matter challenges the
supervision of the LEA by KRESA, this is outside the scope of this Due Process Hearing
and outside the scope of this Tribunal’s jurisdiction because Petitioner did not receive
services from the ISD. Therefore, Respondent KRESA’s motion for dismissal is granted.

   C. Petitioner’s claims prior to February 22, 2020, are outside the statute of
      limitations and are dismissed with prejudice. As such, KPS is not a proper party
      to this action and must be dismissed with prejudice

Respondent Schools’ motion requests that all claims that occurred prior to February 22,
2020 should be dismissed because they occurred outside of the two-year statute of
limitations. On the other hand, Petitioner contends her complaint was filed within two
years of the discovery of the injury by KPS and CPS and thus was timely.

Section 1415(f)(3)(C) provides in pertinent part, “[a] parent or agency shall request an
impartial due process hearing within 2 years of the date the parent or agency knew or
should have known about the alleged action that forms the basis of the complaint . . .”
20 U.S.C. 1415(f)(3)(C).

IDEA does provide for two exceptions to this timeline as follows:

      (D) Exceptions to the timeline

      The timeline described in subparagraph (C) shall not apply to a parent if
      the parent was prevented from requesting the hearing due to—

         (i) specific misrepresentations by the local educational agency that it
         had resolved the problem forming the basis of the complaint; or

         (ii) the local educational agency’s withholding of information from the
         parent that was required under this subchapter to be provided to the
         parent.

      20 USC 1415(f)(3)(D)(i) and (ii).




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Here, Petitioner did not allege that KPS or CPS engaged in “specific misrepresentations
that it had resolved the problem forming the basis of the complaint”. Petitioner does
assert that Petitioner had “limited information because KPS failed to perform the
necessary and legally required evaluations to determine appropriate supports and
services for [Petitioner] for years.” [Response, p 14]. However, Petitioner does not
assert that Respondent KPS withheld information, but rather asserts KPS did not collect
the necessary information. Thus, it cannot be said that KPS withheld information that it
never actually obtained.

Next, School Respondents argue that any alleged violations that occurred prior to
February 22, 2020, should be rejected given that Petitioner, through an advocate, filed
state complaints in October 2019 and on January 27, 2021. [Motion, p 9]. As such,
Respondents argue that Petitioner knew about these alleged issues with KPS and CPS
and “cannot now plead ignorance of the alleged harm which served as the basis of the
State Complaints”. [Id.]

Petitioner acknowledges that her advocate did file an MDE complaint in 2019 and 2021,
but argues that Petitioner should not be “held responsible for understanding her own
limitations from a professional pedagogical or psychological perspective.” [Response, p
12]. Petitioner argues that she timely filed her complaint within two years of the
discovery of the injury by KPS and thus should be compensated. Petitioner also
maintains that her state complaint against KPS was solely for its failure to evaluate
Petitioner before transferring her to the alternative high school. [Response, pp 4-5].

Petitioner further states that School Respondents’ failures continued into the two-year
window. Petitioner argues that she had no way of knowing that KPS, CPS and KRESA
would continue to fail her throughout her educational career. However, regardless of
whether Petitioner knew that the alleged violations would continue, the statute clearly
requires a due process hearing request to be filed within two years of the date Petitioner
knew or should have known about the alleged action that forms the basis of the
complaint. For this Due Process Complaint to be timely against KPS, Petitioner would
have been required to file it by October 2021. Petitioner did not file this Due Process
Complaint until February 22, 2022, which is not within two years of her discovery of the
alleged action forming the basis of this complaint.

Petitioner also acknowledges that KPS does not have an ongoing obligation to provide
special education services to Petitioner as she is currently enrolled in CPS. Petitioner
argues that KPS does have the duty to compensate her for the lack of appropriate
educational supports and services for the 10 years during which she was a student with
a disability. While this may have been true had the complaint been filed timely, that was
not the case here.




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It is noted that Respondent CPS is responsible for providing Petitioner a FAPE and
Petitioner is entitled to any compensatory education if there was a failure to provide
FAPE after February 22, 2020.

Each of the issues enumerated in the March 17, 2022 Order Following Prehearing
Conference are within the jurisdiction of the tribunal. Those issues will be adjudicated
at the hearing.

                                       ORDER

NOW, IT IS FURTHER ORDERED that School Respondents’ Motion to Dismiss
KRESA as a party is GRANTED.

NOW, IT IS FURTHER ORDERED that School Respondents’ Motion to Dismiss KPS
as a party is GRANTED.

NOW, IT IS FURTHER ORDERED that Respondents’ Motion for Summary Disposition
is GRANTED IN PART. Only those claims relating to IDEA after February 22, 2020, will
be adjudicated.

NOW, IT IS FURTHER ORDERED that the only issues to be adjudicated at the due
process hearing will be as follows:

          a. Whether Respondent Comstock Public Schools violated the Child
             Find mandate of the IDEA by failing to identify, locate, and/or
             evaluate Student for a disability?

          b. Whether Respondent Comstock Public Schools violated the IDEA
             provisions requiring comprehensive educational evaluations?



                                          ____________________________________
                                          Lindsay Wilson
                                          Administrative Law Judge




                                                                         PLAINTIFFS 00009109
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                                      PROOF OF SERVICE

I certify that I served a copy of the foregoing document upon all parties and/or attorneys, to their
last-known addresses via electronic delivery, this 15th day of April 2022.


                                               ____________________________________
                                               C. Gibson
                                               Michigan Office of Administrative Hearings
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